Case 6:22-cv-02217-PGB-LHP

9/11/22, 6:28 AM

~) Back to usage

Data, text & talk logs

Device:

Billing period:

DAVID TOM

| 321.917.0760

Jul 29, 2022 - Aug 28, 2022

Showing details for Talk usage

AT&T

 

 

Totals for this billing period: 280 calls 2823 $0.00
minutes
Date / Time Contact Location Call Type Minutes shone
(
08/16/2022 03:19PM 617.276.5482 Incoming, CL M2AM 5 0.00
08/16/2022 03:33PM 321.576.5344 Cocoa, FL M2AM 2 0.00
08/16/2022 04:03PM 978.431.0202 Littleton, MA XSTP 2 0.00
08/16/2022 04:12PM 877.649.2262 Toll Free, CL XSTP 1 0.00
08/16/2022 04:58PM JL Cell St Johns, FL M2AM 8 0.00
08/16/2022 06:27PM 484.447.4315 Incoming, CL XSTP 2 0.00
08/16/2022 05:49PM 800.645.9700 Toll Free, CL XSTP 26 0.00
08/16/2022 05:55PM 321.576.5344 Call Wait M2AM 1 0.00
08/17/2022 09:03AM 813.816.2827 Incoming, CL XSTP 4 0.00
08/17/2022 09:06AM 321.508.2699 Melbourne, FL M2AM 1 0.00
08/17/2022 09:24AM 617.276.5482 Incoming, CL M2AM 1 0.00
08/17/2022 10:38AM 800.604.6052 Incoming, CL XSTP 1 0.00
08/17/2022 02:37PM 321.848.2111 Incoming, CL M2AM 4 0.00
08/17/2022 03:09PM 321.259.6100 Eau Gallie, FL XSTP 1 0.00
08/17/2022 03:20PM 321.508.2699 Melbourne, FL M2AM 1 0.00
08/17/2022 03:50PM 614.271.7420 Columbus, OH M2AM 1 0.00
08/17/2022 04:13PM 800.226.2191 Toll Free, CL XSTP 1 0.00
08/18/2022 09:31AM JL Cell Incoming, CL M2AM 31 0.00
08/18/2022 01:41PM 321.953.8985 Melbourne, FL XSTP 1 0.00
08/18/2022 01:42PM 321.952.3437 Melbourne, FL XSTP 3 0.00
08/18/2022 02:40PM JL Cell Incoming, CL M2AM 48 0.00
| 08/18/2022 04:26PM 321.626.0889 Incoming, CL M2AM 2 2.00 7
-KWLANE

08/18/2022 04:40PM 321.863.2405 Incoming, CL M2AM

https://www.att.com/olam/talkUsageDetailPage.myworld ?billStatementID=20220828|125957161|T06|V&ctn=3219170

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PLAINTIFF’S
EXHIBIT

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